’

File No. 82CRS 7297

STATE OF NORTHC (tOLINA oo .
in The General Court of Justice 82CRS. 7298
C) District fk Superior Court Division 82CRS 10384
B2CRS_10385_
Film No. BOCRS 10386
Iredell 82CRS 9358
County B2CRS 9359 82CRS 10387
a ——STATE VERSUS _ JUDGMENT AND COMMITMENT
Shaun Antoni Hayden _ . C1 Misdemeanor ,
Race Sex Age Fair Sentencing Act Felony
Black Male 16 Years Pre-Fair Sentencing Act Felony

Attorney for Defendant J . H, Rennick

Attorney for State
H. W. Zimmerman, Jr, C] Waived attorne
Char: nclude dates of offenses):

BZCRE 726 7—1st ‘Beg. BureLary-5/53/80 "Bene VOsBEn Se Dee. Sexual Off.-8/24/

S2CRS 7298-Att. Rape-5/23/82 - 82CRS 10386-B & E & L-8/21/82

82CRS_10384-Assault With Deadly Weapon 82CRS 10387-1st Deg. Rape-8/21/82
82CRS 9358-2nd Deg. Sexual Off.-4/29/¢
Deg._Rape-4/29/32

With Intent to Kill Inflicting Serious
[Ing in Death-8/21/8°2 B2CRS 93%590-Att. 2nd =

The defendant sg pled guilty to: / 0 was found guilty of: 0 pled no contest to:

Offense(s) G.S. No. Felony/Misd. Felony Class | Maximum Prison
First Degree Burglary 14-54,52 | Felony Cc erm Allowed by Law
Attempted Rape 14—~27.6 Felony F

Assault With Deadly Weapon With Intent [14-32 (a)| Felony F

To Kill Inflicting Serious injury Not
Resulting In Death

Ist Degree Sexual Offense 14-274 Felony B

B&ES&L (See Page #2) 1h-54(2) Felony H

The above listed offenses are consolidated for the purpose of judgment. 4 Low7 2( a) ~71

The Court having considered evidence, arguments of counsel, and statement of the defendant ORDE! ? AND ADJUDGES that the defendant be imprisoned
| For aterm of: in the custody of the

vy N.C. Dept. of Correction
mo , . HIS NATURAL LIFE + Oo
: Sheriff of
TO BE SERVED AS A REGULAR YOUTHFUL OFFENDER we count

NOTE: For Fair Sentencing Act Felonies, Judge may not impose a minimum and maximum. prison term.

CO) ‘The sentence imposed above shall begin at the expiration of all of sentences which the defendant is presently obligated to serve,
The sentence imposed above shail begin at the expiration of the sentence imposed in the case referenced below:

Case number, county & court in which prior sentence imposed, date sentence imposed.

(check all that apply)

CI The defendant shall serve as a committed youthful offender kX the defendant should not obtain the benefit of release
(CYO) pursuant to G.S. Chapter 148 Article 3B. under G.S. 148-49, 15.

a} The defendant shall be given credit foreo5__ days spent in confinement prior to the date of this judgment.
Cl The defendant shall pay the costs. CO The defendant shali pay a fineof$__-—

Work release is recommended. OD Immediate work release is recommended.

CJ The Court does not recommend restitution or reparation as a condition of attaining work release or parole (this condition of parole is not

applicable to Fair Sentencing Act Felonies.)

iC} The Court recommends that as a condition of attaining work release or
Felonies.), the defendant pay restitution as provided below.

0 The Court recommends that the defendant be required to pay from his work release earnings restitution as provided below.

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STATE OF NORTHC tOLINA Sle No.

In The General Court of Justice PAGE
District &x Superior Court Division

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Race — Sex Age . GB Fair Sentencing Act Felony

Black Male 16 Years 0 Pre-Fair Sentencing Act Felony
Attorney for State , , Aitorney for Defendant J. He. Rennick

H. W. Zimmerman, Jr, C) Waived attomey Costi Kutteh, Atty. ion

In open court the defendant appeared for trial on the following File No(s), and Charge(s) (inciude dates of offenses):

SEE PAGE #1

The defendant pled guilty to: O was found guilty of: O pled no contest to:

Offense(s) G.S. No. Felony/Misd. Felony Class Maximum Prison —
Charges Continued From 1st Page All Chares
2nd Degree Sexual Offense 427.5 Felony D ITwo Life
Attempted 2nd Degree Rape 1427.6 Felony H Terms +
1st Degree Rape Nm 27 2 Felony B 160 Years

The above listed offenses are consolidated for the purpose of judgment. /
The Court having considered evidence, arguments of counsel, and statement of the defendant ORDERS AND ADJUDGES that the defendant be imprisoned

in the custody of the
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oO Sheriff of

| For a term of:
SEE PAGE #1

County

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Case number, county & court in which prior sentence imposed, date sentence imposed.

(check all that apply)

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The defendant shall be given credit for_______ days spent in confinement prior to the date of this judgment.

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applicable to Fair Sentencing Act Felonies.)

I The Court recommends that as a condition of attaining work release or parole (this condition of parole is not applicable to Fair Sen tencing Act
' Felonies.), the defendant pay restitution as provided below.

CI The Court recommends that the defendant be required to pay from his work release earnings restitution as provided below.
| | |
The Court further recommends: Upon entrance of the Defendant to the Department of Corrections
the defendant is to receive psychological & psychiatric theatment as provided by
the State of North Carolina.

For Use With Fair Sentencing Act Felonies Only

The Court has considered the aggravating and miltgating factors in G.S. 15A-1340.4(a) and:

xt makes no written findings because the prison term imposed is pursuant to a plea arrangement as to sentence under Article 58 of G.S. Chapter
15A.

CO makes no written findings because the prison term imposed is the presumptive term or is the mandatory minimum term required by law

O makes written findings set forth on the Findings of Factors in Aggravation and Mitigation of Punishment (AOC-CR-303)

Order of Commitment

It is FURTHER ORDERED that the Clerk deliver three certified copies of this Judgment and Commitment to the Sheriff or other qualified officer
and that the officer cause the defendant to be delivered with these copies of the judgment to the custody of the agency named on the reverse to
serve the sentence imposed or until he shall have complied with the conditions for release pending appeal.

Date Name of Presiding Judge Signature of Presiding Judge
3/15/83 JAMES C. DAVIS Oo venta. Lees -
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’ Appeal Entries

-

The defendant gives notice of appeal to the:

CO N.C. Court of Appeals Oo N.C. Supreme Court. The defendant is allowed _________ days to serve proposed record on appeal, and the
State is allowed ________ days after such service to serve objections or proposed alternative record on appeal. Release of defendant pursuant

to G.S. 154-536 is

7
se. ‘.

Dates 7! vos Name of Presiding Judge ‘| Signature of Presiding Judge

me

Order of Commitment after Appellate Determination

Date withdrawal of appeal per G.S. 15A-1450 filed Date Appellate Court Opinion finding no &rror filed.

It is” ‘ORDERED that the Judgment herein be executed. It is further ORDERED that if there be need, the Sheriff arrest and recommit the’
defendant‘to.the custody of the. officiat named in the Judgment and furnish that official two certified copies of this, Judgment 2 and this Order as ©
authority for. the commitment and ‘detention of the defendant. o .t . LA ‘

tare, 7 ow . :
Lo . - toe . \ “oy
ove -y my / ’ °

Date pee so so \ Signature of Clerk of Superior Clerk

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a ee i

CO Deputy Oj Assistant DO Clerk of Superior Court -

Certification

certify that this Judgment and Commitment 0 and attached Findings of Factors in Aggravation and Mitigation of Punishment (AOC-CR 303) is
frue and complete copy of the original which is on file in this case.

. Lh
Date of Certification | Date Certified cori penvered to Sheriff spies and sa ~Y Le ot
#2_i(¢ 53 -/t = BA (| QZnO WO pie, __ : -
Deputy Assistant “Clerk. of. Superior. Court
f | |

The Court further recommends:

For Use With Fair Sentencing Act Felonies Only

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3/15/83 JAMES. C. DAVIS -

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defendant to the custody of the official named in the Judgment and furnish that official two certified copies of this Judgment and this Order as
authority for the commitment and detention of the defendant. |

Date Signature of Clerk of Superior Clerk

4 os

CO Deputy O Assistant D1 cierk of Superior Court -

Certification

T certify that this Judgment and Commitment O and attached Findings of Factors in Aggravation and Mitigation of Punishment (AOC-CR 303) is
a true and complete copy of the original which is on file inthis. case.

og of Certification | ~~ Date Certified Copies Delivered to Sheriff. - [Signa dre and Seal {) ‘
—_ ° « NV) nm é “
~~ ll -23 aS =I ln GR CTPIMN Hie of Jet

0 puty 0 Assistant 0 Clerk of Superior Court

